Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 1 of 22




                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                                   MIAMI DIVISIO N

                                   CASE NO.: 05-22454-CIV-ALTONAGA/TURNOFF;                                             S . i C T.
                                                                                                                                  J .J   1


                                                                                                             ,, .   ~~ .FFL :-!1i :
     DIEGO VARAS CASADO, a minor,
     through his natural parents an d legal
     guardians, JOSE MARIA VARAS and
     OLINDA CASADO, and JOSE MARIA
     VARAS and OLINDA CASADO,
     individually and as natural parents and
     guardians of DIEGO VARAS CASADO ,

               Plaintiffs ,
     vs.

     HILTON INTERNATIONAL CO .,
     a foreign corporation ; and HILTON
     HOTELS CORPORATION, a
     foreign corporation ;

               Defendants .


                                                        NOTICE OF FILIN G

               Plaintiffs by and through undersigned counsel, hereby file a copy of two documents relating

     to Venezuelan law .

               At this morning's hearing, the Court requested a copy of the Venezuelan Supreme Court's

     opinion in Curra v . Autobuses El Tiempo, C .A . (Venezuela 2004) . A copy of the opinion printed

     from the Court's website is attached as Exhibit A hereto .

               At the hearing, Plaintiffs' counsel also offered to submit a copy of the Venezuelan statute a t

                          ni   ft,_ _ Civi l Code   A   1 ,., .,.«4 r   b tained fro m the 11lte P.t is attched as
              t1IL1C1C 1 17l) Q1 L11G l ` 'o      . A rclcaul cxcempt .vv~u,ned



     Exhibit B hereto .



                                                                                                                                             P




Podhurst Orseck, P.A.                                  I                                                                                 ZY10
25 West Flagler Street , Suite 800, Miami, FL 33130, Miami 305.358 .2800 Fax 305 .358 .2382 • Fort Lauderdale 954.463 .4346 1 www.podhurst.com
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 2 of 22



                                                  CERTIFICATE OF SERVIC E

                WE HEREBY CERTIFY that a copy of the foregoing was fu rnished via U .S . First Class Mail

      to : Hila rie Bass , Esq ., Mark A . Salky, Esq ., Ricardo A . Gonzalez , Esq ., Greenberg Traurig, P.A.,

      1221 B rickell Avenue, Miami , Flo rida 33131 ; and William P . Kardaras, Esq ., Kardaras & Kelleher,

      LLP, 44 Wall Street , New York, NY 10005-1303 , on this / g                             day of July, 2006 .


                                                                    Respectfully submitted ,

                                                                    PODHURST ORSECK, P.A.
                                                                    25 West Flagler Street, Suite 800
                                                                    Miami, Florida 3313 0
                                                                    (305) 358-2800 / Fax (305) 358-238 2


                                                                    By:
                                                                          Steven C . Marks
                                                                          Fla . Bar No . 516414
                                                                          Ricardo M . Martinez-Cid
                                                                          Fla. Bar No . 383988
                                                                          Stephen F . Rosenthal
                                                                          Fla. Bar No . 131458




                                                                      -2-



Podhurst Orseck, P.A .
25 West Flagler Street, Suite 800, Miami, FL 33130, Miami 305. 358.2800 Fax 305 .358 .2382 • Fort Lauderdale 954 .463 .4346 1 www .podhurst .com
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 3 of 22




                                                        EXHIBIT A
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 4 of 22
RC-00718-270704-03382 . htm                       Page                       1      of           15




                                    LA REPUBLICA BOLIVARIANA DE VENEZUEL A


                                                EN SU NOMBRE
                                   EL TRIBUNAL SUPREMO DE JUSTICI A


                                    SALA DE CASACION CIVI L

                          Ponencia del Magistrado TULIO ALVAREZ LEDO



           En el juicio por dafios y perjuicios materiales y morales derivados de accidente de transito

incoado por GLADYS ROMERO DE CURRA, RAMON CURRA quien actua en representacion

propia y de la menor ISLAISSYS YAJIXA CURRA, representados por los abogados Pedro Perlaza

Campos, Hilda Garcia Martinez y Maria Sanchez Maldonado, contra AUTOBUSES EL TIEMPO

C.A., en cabeza de sus administradores MARIA ALICIA ASENCAO GONZALEZ y MANUEL

RICARDO ASUNCION, representados por los abogados Alfredo Rojas Moreno, Alejandro Garcia,

Jose Luis Castillo y Luis Ramon Golindano y SEGUROS LOS ANDES C .A., representados por los

abogados Thaymi Elisa Carrero Diaz, Salvador Benaim Azaguri, Maria Luisa Perez Manchin, Maximo

Febres Siso e Isabel Carrera Machado ; el Juzgado Superior Cuarto en lo Civil, Mercantil y del Transito

de la Circunscripcion Judicial del Area Metropolitana de Caracas, dicto sentencia en fecha 8 de

noviembre de 2002, mediante la cual declaro sin lugar la apelacion interpuesta por el apoderado judicial

de la parte codemandada, y confirmo en todas sus partes la decision de fecha 10 de octubre de 2001,

dictada por el Juzgado Primero de Primera Instancia en lo Civil, Mercantil y del Transito de la

mencionada Circunscripcion Judicial, mediante la cual se declaro con lugar la demanda .


           Co ntra esa decision del menc ionado TI1bunal Supcrior, la rcprescntacion judicial de la parte

codemandada anuncio recurso de casacion, que fue admitido y oportunamente formalizado . Hubo

impugnacion .


           Concluida la sustanciacion del recurso de casacion y cumplidas las demas formalidade s



http ://www.tsj .gov .ve/decisiones /scc/Julio /RC-00718-270704-03382 .htm                8/ 18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 5 of 22
RC-00718-270704-03382 . htm                          Page                       2        of          15


            legales, la Sala procede a dictar sentencia bajo la ponencia del Magistrado que con tal

caracter la suscribe, en los terminos siguientes :



                                              PUNTO PREVI O


            Observa la Sala que en el caso de especie , el lapso para la presentacion del recurso de

casacion, vencio el 1 7 de mayo de 2003 . Por consiguiente , el lapso de veinte ( 20) dias consecutivos para

la consignar el escrito de contestacion a la formalizacion , fenecio el 6 de junio del 2003 .



            Segun las actas procesales, la presentacion del escrito de impugnacion tuvo lugar en fecha 19

de junio de 2003, cuando ya habia concluido el indicado lapso del articulo 318 del Codigo de

Procedimiento Civil .



            Siendo pues extemporanea la presentacion del escrito en referencia, por haber ocurrido

cuando habia fenecido el lapso procesal correspondiente, la lo Sala tiene como no presentado . Asi se

declara.



                              RECURSO POR DEFECTO DE ACTIVIDA D

                                                     UNICO



            Con fundamento en el ordinal 1° del articulo 313 del Codigo de Procedimiento Civil,

denuncia la infraccion de los articulos 12, 243 ordinal 4°, 244 y 254 eiusdem, por incurrir en el vicio de

inmotivacion por silencio de prueba .



            Alega el formalizante , que el juez de alzada al referirse a los testigos Juan Ma rtino y Aurelio

Dos Santos , al resultado de la experticia y a la inspeccion judicial , omitio cualquier analisis de dichas

pruebas, las cuales, de haber sido debidamente adminiculadas por este , llegaria a la conclusion de que el

hecho que causo el accidente que produjo la mue rte de Milagros Curra fue la ruptura de la barra de l a




http ://www.tsj .gov.ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 6 of 22
RC-00718-270704-03382 .htm                        Page                       3       of           15


           direction del autobus, lo cual quiere decir que el accidente se debio a una causa extrana no

imputable, y en consecuencia, la codemandada Autobuses El Tiempo C .A., quedaba eximida de

responsabilidad to que resultada fundamental para las resultas del juicio, motivo por el cual incurre en

inmotivacion por silencio de prueba .

           Textualmente alega el formalizante lo siguiente :



           " . . .Como puede observarse, el juez de la recurrida refiere las declaraciones de los testigos
           JUAN MARTINO Y AURELIO DOS SANTOS, e igualmente cita la inspeccion y las
           experticias practicadas, pero en el texto de la sentencia omite totalmente el analisis de dichas
           pruebas, al no pronunciarse de manera expresa y clara sobre su eficacia o merito probatorio .
           El juez al analizar en su sentencia los elementos de prueba aportados por las partes, debe
           efectuar un estudio riguroso y exhaustivo de cada uno de esos medios, apreciandolo o
           desechandolo, pronunciandose de manera clara, precisa e inequivoca, sobre su eficacia o
           ineficacia para probar el hecho o circunstancia con cuyo motivo se promovio la probanza. En
           el caso bajo analisis el juez de la recurrida, repetimos, omitio el analisis de dichas pruebas,
           puesto que al decir que los testigos quedaron firmes a tenor de lo dispuesto en el articulo 508
           del Codigo de Procedimiento Civil y que tanto la inspeccion judicial como la experticia
           tienen pleno valor probatorio, debio realizar la operation intelectual de determinar si tal
           declaration, era o no eficaz para probar los hechos que pretendia probar el promovente, o si
           por el contrario no era eficaz para ello o determinar que aun siendo eficaz para probar tales
           hechos, los mismos no tendrian mayor repercusion sobre la controversia planteada. La falta
           de analisis de los dichos de los testigos, de la experticia y de la inspeccion judicial
           levantadas, tiene una trascendencia fundamental sobre el fallo pronunciado, toda vez que, si
           las pruebas senaladas son idoneas para probar los hechos constitutivos de la causa extrana no
           imputable, la sentencia habria tenido un resultado totalmente distinto del que efectivamente
           pronuncio el juez de la recurrida . Ahora bien, toca analizar, a los efectos de la denuncia
           planteada, el resultado de la experticia practicada por el experto JOSE (sic) RAMON
           CALATAYUD , quien establecio , en su dictamen que : "De la revision realizada en el
           tren delantero del vehiculo tipo Autobus , Marca Reo, Placas C-00801, se puede
           determinar que si fue reparado a este vehiculo LA BARRA DE LA DIRECCION
           (SUSTITUIDA) Y QUE SI A UN VEHICULO DE ESTAS CARACTERISTICAS SE
           LE ROMPE LA BARRA DE LA DIRECCION, SE PIERDE EL CONTROL DEL
           MISMO POR PARTE DEL CONDUCTOR ..." Por su parte, la inspeccion judicial
           practicada permitio dejar constancia que en la esquina de Alcabala, Avenida San Martin, se
           observa en la via, una capa de asfalto entre los canales de circulation derecho y del centro,
           que es de un color mas oscuro que la capa del resto del pavimento . Y que en el sitio senalado
           como lugar del accidente habia o hubo un hueco de grandes proporciones que comprende ios
           canales derechos y del centro de is calie, el cual fue ieiienadu o pavimentado rccicntemente .
           Las fotografias tomadas en el lugar y que forman parte de la inspeccion revelan nitidamente
           la existencia de un hueco de grandes proporciones, con anterioridad a la pavimentacion de la
           calle en cuestion, puesto que la capa de asfalto recien colocada dibuja una circunferencia que
           recubre el hueco preexistente .
           Al adminicular las declaraciones de los testigos, JUAN MARTINO Y AURELIO DOS
           SANTOS, con el resultado de la experticia realizada y con la inspeccion judicial practicada,
           debemos concluir diafanamente que el hecho que produjo el accidente que causo la muerte d e


http://www.tsj .gov .ve/decisiones /scc/Julio /RC-00718-270704-03382 .htm                   8 /18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 7 of 22
RC-00718-270704-03382 . htm                       Page                       4        of           15


            la ciudadana MILAGROS CURRA, que fue la ruptura de la barra de la direccion del
            autobus, pertenece a la categoria de los hechos que en el campo de las obligaciones se
            conoce con el nombre de "causa extrana no imputable" y que constituye una causal eximente
            de responsabilidad . Si el accidente obedecio, como lo revelan las pruebas citadas y no
            analizadas, a una causa extrana no imputable, es decir, a una circunstancia no dependiente de
            la voluntad ni de la conducta del agente causal del dano, y como consecuencia de ello no
            haber existido una conducta culposa de este, es obvio que no existe responsabilidad alguna a
            cargo de la demandada, AUTOBUSES EL TIEMPO, C .A . La concatenacion logica de las
            referidas pruebas permite excluir como causas primigenias del accidente, la culpa del agente
            causal, el exceso de velocidad, la imprudencia, la negligencia del conductor e involucra como
            causa original del hecho, una causa extrana no imputable . En resumen, el juez de la recurrida,
            omitio hacer la valoracion de las pruebas testimoniales mencionadas, de la prueba de
            experticia y de la prueba de inspeccion judicial, cuya incidencia seria fundamental para el
            resultado del juicio, omitiendo el cumplimiento de la exigencia contenida en el ordinal
            Cuatro (4°) del articulo 243 del Codigo de Procedimiento Civil, viciando de ese modo la
            sentencia dictada, la cual incurre en el vicio de inmotivacibn, y pedimos que asi lo declare
            expresamente esta Sala en su sentencia definitiva ... "



            Para decidir, la Sala observa:




            La denuncia esta mal planteada , pues el vicio- del silencio de prueba debe denunciarse en un

recurso de infraccion de ley , tal como lo establecio la Sala en sentencia de fecha 21 de junio de

2000 (caso : Farvenca Acarigua C .A ., contra Farmacia Clealy C .A.), en la que se asento que la falta de

valoracion y examen de ]as pruebas por parte del sentenciador constituye una in fraccion del articulo 509

del Codigo de Procedimiento Civil, la cual es una regla de establecimiento de los hechos, y esta

violacion debe denunciarse con fundamento en el ordinal 2° del a rticulo 313 eiusdem , lo cual no ocurrio

en el presente caso .



            En consecuencia, se desecha la denuncia de infraccion de los articulos 12, 243 ordinal 4° ,

244 y 254 del Codigo de Procedimiento Civil, por inadecuada fundamentacion . Asi se decide .



                               RECURSO POR INFRACCION DE LE Y

                                                     I



            Con fundamento en el ordinal 2° del articulo 313 del Codigo de Procedimiento Civil e n



http ://www .tsj .gov.ve/decisiones/scc/Julio/RC-007 1 8-270704-03 3 82 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 8 of 22
RC-00718-270704-03382 . htm                       Page                       5       of           15


            concordancia con el 320, denuncia la infraccion de los articulos 12 y 509 eiusdem, por

incurrir en el vicio de silencio de pruebas .



            Alega el formalizante, que el juez de azada omitio analizar y valorar a los testigos Juan

Martino y Aurelio Dos Santos ; el resultado de la experticia complementaria, y la inspeccion judicial, con

lo cual no pudo constatar los dos hechos que produjeron el accidente y que eximia de responsabilidad a

la codemandada Autobuses El Tiempo C .A., los cuales son : a) La existencia en el pavimento de la via

por donde se desplazaba el autobus, de un hueco de grandes proporciones que obstruia el canal central y

el canal derecho de la avenida ; y, b) La circunstancia de que, al pretender el conductor realizar una

maniobra con el volante para evitar caer en el hueco del pavimento, se rompiera la barra de la direccion

del autobus .



            Para decidir, la Sala observa:




            Para verificar las aseveraciones expuestas por el formalizante la Sala pasa a transcribir lo

pertinente de la sentencia recurrida :

            ". . . ANALISIS DE LAS PRUEBAS DE LA CODEMANDADA AUTOBUSES EL
            TIEMPO C .A.

            .. .Omissis . . .

            A) Juan Martino .. .
            Este testigo no fue repreguntado por la parte actora, por lo que su testimonio quedo firme y
            este tribunal le otorga a su contenido pleno valor probatorio, conforme al articulo 508 del
            Codigo de Procedimiento Civil, y asi se decide .
            B) Aurelio Dos Santos De Freitas, ...
            Testigo que al no ser repreguntado por la parte actora al momento de prestar testimonio,
            quedo firme en sus afirmaciones por lo que este tribunal le otorga pleno valor probatorio de
            conformidad con lo establecido en el articulo 508 del Codigo de Procedimiento Civil, y asi se
            decide .
            . ..Omissis .. .
            En cuanto a la Inspeccion Judicial, .. .
            Inspeccion Judicial que esta Alzada a tenor de lo establecido en el articulo 1 .430 del Codigo
            Civil en concordancia con los articulos 507 y 509 del Codigo de Procedimiento Civil otorga
            pleno valor probatorio a los hechos contenidos en las mismas, anteriormente senalados, y asi
            se decide .



http://www.tsj .gov. ve/decisiones / scc/Julio/RC-00718-270704-03382 .htm                  8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 9 of 22
                                                                                5
RC-00718-270704-03382 .htm                             Page                           6   of        1


            En relac16n a la experticia realizada al vehiculo propiedad de la codemandada Autobuses El
            Tiempo C .A., se observa que en la misma se determine la reparacion de la barra de direccion
            y que la ruptura de la barra de direccion puede ocasionar la perdida del control del vehiculo
            por parte del conductor, prueba esta que este sentenciador aprecia conforme al articulo 507
            del Codigo de Procedimiento Civil en concordancia con el articulo 1 .426 del Codigo Civil y
            asi se decide.
            Ahora bien, del analisis en conjunto de las pruebas aportadas en el proceso, se evidencia el
            hecho generador del dano (accidente ocurrido en fecha 19 de diciembre de 1999, que
            ocasiono la muerte de la ciudadana Milagros Yaneth Curra Romero) . El agente que ocasiona
            el dano (conductor del vehiculo quien reconoci6 su responsabilidad del accidente ante el
            Juzgado Vigesimo Septimo de Primera Instancia en Funciones de Control del Circuito
            Judicial Penal del Area Metropolitana de Caracas) . Sin embargo, la parte demandada durante
            la secuela del proceso en la instancia inferior y en el acto de los informes celebrado ante esta
            Alzada, insiste en defensas dirigidas a desvirtuar la responsabilidad del conductor en la
            produccion del dano, alegando que la conducta desarrollada por el conductor no es culposa,
            lo que constituye una eximente absoluta de responsabilidad civil .
            A este respecto, esta Alzada observa, que habiendo reconocido su responsabilidad el
            conductor del vehiculo, tal y como se desprende de la copia certificada de la sentencia
            dictada por el Juzgado Vigesimo Septimo de Primera Instancia en Funciones de Control del
            Circuito Judicial Penal del Area Metropolitana de Caracas, valorada anteriormente por este
            Juzgado, conforme a lo previsto en los articulos 1 .357 y 1 .359 del Codigo Civil, es decir,
            otorgandole a su contenido efecto erga omnes, no puede pretender la demandada desconocer
            tal responsabilidad y asi se establece..."




             De la precedente transcripcion se desprende que el juez de alzada si analizo las pruebas

referidas a los testigos Juan Martino y Aurelio Dos Santos, asi como el resultado de la experticia y la

inspeccion judicial, pues expreso que la codemandada insistia en desvirtuar con las citadas pruebas la

responsabilidad civil del conductor en la produccion del dano, y concretamente, su conducta culposa .


             Al respecto, el ad quem considero que no podia desconocer la responsabilidad del conductor

frente a la declaracion que 61 mismo hizo en el Juzgado Vigesimo Septimo de P ri mera Instan cia en

Funciones de Control del Circuito Judicial Penal del Area Metropolit ana de Caracas, mediante la cual

reconocio su responsabilidad en el accidente, y por este motivo le dio efectos erga omnes a dicha,
rnnfPCinn i1 c'nnfrNrmid ,-1 rnn Inc nrtiriilnc 1 '257 if 1   1 50 del CMion Civi l




             En virtud de los razonamientos antes expuestos , se declara improcedente la denuncia de

infraccion de los art iculos 12 y 509 del Codigo de Procedimiento Civil, y asi se decide.




http ://www.tsj.gov.ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 10 of 522
RC-00718-270704-03382 .htm                         Page                        7        of         1


                                                     II




           Con fundamento en el ordinal 2° del articulo 313 del Codigo de Procedimiento Civil, se

denuncia la infraccion del articulo 1 .196 del Codigo Civil por error de interpretacion .



           Alega el formalizante que el juez de alzada, al acordar a los accionantes una indemnizacion

por las lesiones corporales sufridas por la victima Milagros Yanet Curra Romero, incurrio en una

flagrante violacion del articulo 1 .196 del Codigo Civil, pues las lesiones se refieren a un dano que solo

puede ser reclamado por la propia victima, por ser personalisimo e intransferible .

           Textualmente alega el formalizante lo siguiente :



           "...Notese que el juez a quo, y el juez de la recurrida acuerdan a cada uno de los accionantes,
           una indemnizacion, por concepto de dolor sufrido (Pretium Doloris) a causa de las lesiones
           corporales experimentadas por la victima MILAGROS YANET CURRA ROMERO,
           desconociendo de manera rotunda y flagrante el contenido del articulo 1 .196 del Codigo
           Civil y el criterio reiterado de nuestra doctrina y jurisprudencia, en el sentido que el pretium
           doloris sufrido por la victima solo puede ser reclamado por ella misma y no por los parientes
           o allegados, por ser un tipo de dano personalisimo a la victima ; configurandose de ese modo
           el vicio de "violacion de la ley, al contradecir abiertamente el contenido de la norma juridica .
           Es decir que, en el ambito de nuestro ordenamiento juridico positivo, y por mandato expreso
           del articulo 1 .196 del Codigo Civil, los parientes consanguineos, afines y el conyuge, tienen
           derecho a obtener una indemnizacion por el dolor sufrido por ellos con ocasion de la muerte
           de la victima de un hecho ilicito . Ahora bien, segun el mismo dispositivo legal, la propia
           victima de una lesion corporal, de un atentado a su honor, a su reputacion, o a la reputacion u
           honor de su familia, a su libertad personal etc, tiene derecho a exigir una reparacion del dolor
           sufrido por aquellas lesiones . Pero la norma no establece que el derecho a dicha
           indemnizacion, por causa del sufrimiento experimentado por la victima, puede ser transferido
           a sus parientes, puesto que el derecho de estos ultimos a obtener una indemnizacion, nace
           solo en el caso de que la victima de la lesion corporal muera efectivamente por causa del
           hecho ilicito productor de la lesion inicial . Pero, cuando solo hay lesion corporal que no es
           capaz de causar la muerte, el derecho a reclamar la indemnizacion por causa del dolor sufrido
           (pretium doloris) se limita a la persona de la victima, por ser un tipo de dano personalisimo y
           por ende no transferible.
                       Con base en los razonamientos expuestos, consideramos que la sentencia del
           Juzgado Superior Cuarto en lo Civil, Mercantil y del Transito de la Circunscripcion Judicial
           del Area Metropolitana de Caracas, contiene una flagrante violacion al texto del articulo
           1 .196 del Codigo Civil, en tanto que acordo a los actores, una indemnizacion que solo podia
           ser acordada a favor de la victima del hecho ilicito, pero que no se preve a favor de los
           parientes, afines o conyuges, configurandose de ese modo el vicio de violacion de la ley al
           contradecir abiertamente el contenido de la norma citada, y asi pedimos que lo declare est a



http://www.tsj.gov.ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm                       8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 11 of 22
 RC-00718-270704-03382 .htm Page 8 of 1 5


                        Sala de Casacion Civil del Tri bunal Supremo de Justicia en la sentencia a dictarse
            en el curso del presentejuicio .. . "

            Para decidir , la Sala :




            El a rticulo 1 .196 del Codigo Civil expresa textualmente lo siguiente :


            " . . .La obligation de reparacion se extiende a todo dafio material o moral causado por el acto
            ilicito.

            El Juez puede , especialmente, acordar una Indeemnizacion a la vic tima en caso de lesion
            corporal , de atentado a su honor, a su reputacion, o a los de su familia, a su libertad personal,
            como tambien en caso de violacion de su domicilio o de un secreto conce rniente a parte
            lesionada.

            El Juez puede igualmente conceder una Indemnizacion a los pari entes a fines , o con.e.
            como reparacion del dolor sufrido en caso de mue rte de la victima . . ." ( Subrayado de la Sala) .




            Esta disposicion legal fue introducida en el Codigo Civil de 1942, y establece la obligation

de reparar tanto el dano material como el moral. Dicha norma faculta al Juez para acordar una

indemnizacion a la victima en caso de atentado al honor , a su reputacion o los de su familia a su libe rtad

personal , como tambien en caso de violacion de su domicilio o de un secreto conce rniente a la parte

lesionada . Tambien puede conceder una indemnizacion a los parientes , afines o conyuges como

reparacion del dolor sufrido en caso de muerte de la victima .-



            En sentencia de fecha 14 de diciembre de 1966 , caso: Adolfo Dasi Tabe rner c/ Eduardo Perez

Newman y Jose Elio Guillen Pe rnia, Gaceta Forense , Segunda Etapa Octubre-Diciembre , Tomo 54, la

Sala establecio :

            "Es cierto, tambien como sostiene el formaliz ante , que el articulo 1 .196 del Codigo Civil
            autonza al juez para acordar una indemnizacion a los parientes , atines o conyuge, como
            reparacion del dolor sufrido solo en caso de muerte de la victima; pero en el caso de autos,
            solo se trnto de lesiones personales sufridas por la suegra del actor ; y dicha disposicion no
            autori zari a una indemnizacion por el pretendido dolor moral sufrido por aquel como
            consecuencia de la lesion sufrida por su suegra . La indemnizacion que la ley permite
            conceder a los pari entes y afines , es solo en caso de muerte de la victima ; y al haberla
            acordado la recur ri da, fuera de ese caso , es decir, por simples lesiones , infringio por este otro



http://www.tsj .gov .ve/ decisiones /scc/Julio /RC-00718-270704-03382 .htm                       8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 12 of 22
RC-00718-270704-03382 . htm                          Page                      9        of           15


           motivo el citado articulo. . ." (Cursiva de la sentencia) .



           De conformidad con lo previsto en el articulo 1 .196 del Codigo Civil, la Sala considera que

en caso de muerte de la victima los herederos tienen derecho a solicitar una indemnizacion solo por dano

moral, y no por las lesiones corporales que pudo haber sufrido el de cujus, en virtud de que los herederos

o causahabientes sufren los denominados peijuicios indirecto o reflejos que nacen de la muerte de un

pariente o familiar por el dano padecido por la victima, pues es a la victima a quien se le ocasiona el

dano directo o el dano corporal por padecer las lesiones en su propio cuerpo .



           Al respecto, la sentencia recurrida expreso lo siguiente :



           " . . .En fecha 10 de octubre de 2001, el Juzgado de la causa ditto sentencia donde declaro sin
           lugar la exception de falta de cualidad e interes en el actor para sostener el juicio, sin lugar la
           cuestion previa opuesta contenida en el ordinal 8° del articulo 346 del Codigo de
           Procedimiento Civil . Con lugar la demanda intentada por la parte actora condenando a las
           demandadas a pagan a la demandante las siguientes cantidades : PRIMERO : a los ciudadanos
           Ramon Curra y Gladys Romero de Curra, padres de la victima la cantidad de diez millones
           de bolivares (Bs . 10.000 .000,00) a cada uno por los siguientes conceptos cinco millones de
           bolivares (Bs . 5 .000 .000,00) Ror la lesion causada a su hija Milagros Yaneth Curra Romero y
           cin co millones de bolivares (Bs . 5.000 .000,00), por el dano moral sufrido . Asimismo pagar al
           ciudadano Ramon Curra la cantidad de un millon quinientos mil bolivares (,Bs .
           1_5 00.000,00 or con cepto de gastos de enterramiento de la de cujus Milagros Yaneth Curra
           Rom ero, qui enera su hija ; SEGUNDO : El pago de la cantidad de veinte millones a la menor
           Islaisssys Curra po r los siguientes concertos diez millon es de bolivares (Bs . 10.000 .000,00)
           por la lesion corporal que le caus o la muerte de su mad re y la cantidad -d e diez millones de
           bolivares Bs. 1 0.000 .000,0 0) por dano mo ral que le fue causado, sumas qu e seran sometidas
           a ex perticia complementaria del fallo .
           .. .Omissis . . .
           Por otra parte, la codemandada Autobuses el Tiempo C .A ., en su escrito de informes insistio
           en la Falta de Cualidad de la parte actora para sostener la presente action, senalando que la
           ind emnizacion derivada del dano o lesion corporal solo compete a la propia victima y por
           ende los actores Ramon Curra y Gladys Romero de Curra no tienen la cualidad para intentar
           la accion de indemnizacion ya que al dejar la difunta una hija, esta excluye a los ascendientes
           como tales herederos, lo que significa que bajo ninguna circunstancia, los padres de la
           victima tendrian derecho a esta indemnizacion y que de conformidad con lo previsto en el
           articulo 1 .196 del Codigo Civil, is obligation de reparar o indemnizar el dano o lesion
           corporal, solo procede con respecto a la propia victima de la lesion o dano .
           A este respecto, la doctrina y la jurisprudencia han sido unanimes al interpretar el articulo
           1 .196 del Codigo de Procedimiento Civil (sic) senalando la posi bili dad de indemnizacion a
           los parientes. como reparati on del dolor sufrido en caso de mue rte de la victima razon por la
           cual acogiendo esta Alzada el criterio sustentado por el Juzgado de instancia inferior, declara
           im rp ocede nte la defe nsa de falta de cualidad para sostener la presente accion , alegada
           nuevamente por la parte demandada en el acto de informes .


http://www.tsj .gov. ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm                       8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 13 of 22
 RC-00718-270704-03382 . htm Page 10 of 1 5


            Sin embargo considera necesa rio esta alzada para sostener la anterior posicion traer a
            colacion el criteri o doctrinal en relacion al dano moral y su indemnizacion , lo cual hace a
            continuacion .
            Senala el procesalista Eloy Maduro Luyano (sic), en su obra Curso de Obligaciones Derecho
            Civil, Tomo III, pagina 143 y 144 .
            . . .Omissis . . .
              Atendiendo al c ri terio doctrinal anteriormente tr anscri to y al analisis probato rio realizado
              por este Juzgado Supe rior concluye esta Alzada que la sentencia dictada por el Juzgado
              Primero de P rimera Instancia en lo Civil , Mercantil y del Transito de esta Circunsc ri pcion se
              encuentra ajustada a derecho por lo que inexorablemente debe ser conformidad (sic) y asi
              expresamente lo decide...... (Subrayado de la Sala) .



            De la precedente transcripcion se desprende que la sentencia recurrida ordeno indemnizar a

Ramon Curra, Gladys Romero de Curra y a la menor Islaissys Curra, debido a las lesiones corporales

sufridas por la difunta Milagros Yaneth Curra Romero, asi como por el dano moral que les causo la

muerte del pariente.

            Ahora bien, de acuerdo con el articulo 1 .196 del Codigo Civil los padres y la hija de la

difunta tienen derecho a una indemnizacion por su muerte, y los legitima para demandar el pago de una

indemnizacion por dano moral, mas no por las lesiones corporales sufridas por ella .



            En consecuencia, al condenar al demandado al pago por las lesiones sufridas por la difunta

Milagros Yaneth Curra Romero con motivo del accidente de transito, el juez superior infringio por error

de interpretacion el articulo 1 .196 del Codigo Civil, razon por la cual se declara procedente la denuncia

bajo analisis, y asi se decide .



                                       CASACION SIN REENVI O



            En la denuncia examinada en el Capitulo I de infraccion de ley de la co-demandad a

Autobuses El '1'iempo C .A ., la Sala declaro procedente is infraccion del articulo 1 . i96 del Codigo Civil ,

por cuanto el juez de alzada acordo indebidamente a los actores Gladys Romero de Cura, Ramon Cura y

a la menor Islaissys Yajixa Curra, una indemnizacion por las lesiones corporales sufridas por la de cujus

Milagros Yaneth Curra Romero, derivados del accidente de transito .

            Dado que el pronunciamiento hecho por este Alto Tribunal hace innecesario un nuev o



http ://www.tsj .gov.ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm                             8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 14 of 22
RC-00718-270704-03382 htm Page 11 of 1 5
                            .


              pronunciamiento sobre el fondo de la controversia , la Sala, en conformidad con lo previsto en

el articulo 322 del Codigo de Procedimiento Civil, casars sin reenvio el fallo recurrido debido a que de

los hechos establecidos en la sentencia recur rida consta que los actores alegaron y probaron que ocurrio

un accidente de trsnsito que le produjo la mue rte a Milagros Yanet Curra Romero , ocasionada por culpa

del conductor. Este hecho debidamente establecido en la sentencia recur rida demuestra el derecho al

pago solo por dano moral , y permite a la Sala aplicar la apropiada regla de derecho .



              En efecto , en caso de mue rte de la victima, sus pari entes tienen derecho a una indemnizacion

por concepto de dano moral, conforme a lo previsto en el articulo 1 .196 del Codigo Civil, tienen derecho

at cobro por concepto de dano moral y no por las lesiones corporales sufridas por ella como to acordo el

juez de alzada .



              En consecuencia, la Sala ejercers su facultad de casar sin reenvio el fallo recurrido, y

ordenars que las empresas Seguros Los Andes C .A. y Autobuses El Tiempo C .A., paguen a los actores

la cantidad de Treinta y Un Millones Quinientos Mil Bolivares (Bs . 31 .500 .000,00) de la siguiente

manera . La primera de las empresas responders por el monto total de la cobertura de la Poliza que

ampara al autobus placa N° C-00801, la cual asciende a Tres Millones Quinientos Mil Bolivares (Bs.

3 .500 .000,00), y los Veintiocho Millones de Bolivares (Bs . 28.000 .000,00) restantes corrersn por cuenta

de Autobuses El Tiempo C .A ., todo por concepto de dano moral . Asi se decide .

                                               DECISIO N



              Por las razones expuestas, el Tribunal Supremo de Justicia, en Sala de Casacion Civil,

administrando justicia en nombre de la Republica Bolivariana de Venezuela y por autoridad de la Ley ,

uee iai   a CON L'IJGAR ei recurso de casacion anunciado y formaiizado por is co-demandada Autobuse s

El Tiempo C .A . contra sentencia de fecha 8 de Noviembre de 2002 , dictada por el Juzgado Superior

Cuarto en lo Civil, Merc antil y del Trsnsito de la Circunsc ripcion Judicial del Area Metropolitana de

Caracas, y CASA SIN REENVIO el fallo recurrido . En consecuencia, declara : 1) PARCIALMENTE

CON LUGAR la demanda interpuesta por GLADYS ROMERO de CURRA, RAMON CURRA e



http://www.tsj .gov .ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA
 RC-00718-270704-03382   Document 107 Page
                       .htm           Entered on FLSD Docket
                                                         12  08/21/2006
                                                                     of Page 1
                                                                             15 of 522


             ISLAISSYS YAJIXA CURRA, contra las empresas AUTOBUSES EL TIEMPO C .A. y

SEGUROS LOS ANDES C.A . por danos y perjuicios derivados de accidente de trsnsito, por cuanto

solo proceden la indemnizacion por los danos morales alegados, 2) CON LUGAR la apelacion

formulada por la codemandada Autobuses El Tiempo C .A. contra el fallo dictado en fecha 10 de octubre

de 2001, por el Juzgado Primero de Primera Instancia en lo Civil, Mercantil y del Trsnsito de la

mencionada Circunscripcion Judicial . Por consiguiente, CONDENA a las empresas SEGUROS LOS

ANDES C .A. y AUTOBUSES EL TIEMPO C .A., al pago a los actores de la cantidad de TREINTA

Y UN MILLONES QUINIENTOS MIL BOLIVARES (Bs . 31.500.000 ,00), discriminados de la

siguiente forma : La primera de las empresas nombradas responders por el monto total de la cobertura de

la Poliza que ampara al autoblis placa N° C-00801, la cual asciende a Tres Millones Quinientos Mil

Bolivares (Bs . 3 .500 .000,00), y la segunda, Autobuses El Tiempo C .A., debers pagar la cantidad de

Veintiocho Millones de Bolivares (Bs . 28.000 .000,00), todo por concepto de dano moral . El monto

condenado se pagars de la siguiente manera : 1) A cada uno de padres de la de cujus ciudadanos Gladys

Romero de Curra y Ramon Curra, la cantidad de diez millones de bolivares (Bs . 10.000 .000,00) por

dano moral, y un millon quinientos mil bolivares (Bs . 1 .500 .000,00) por los gastos de entierro de la

difunta Milagros Yanet Curra Romero . Y 2) A la menor Islaissys Yajixa Curra la cantidad de diez

millones de bolivares (Bs . 10.000 .000,00) por dano moral .

            No se condena en costas al codemandado Autobuses El Tiempo, C .A., por haber resultado

con exito el recurso de apelacion interpuesto .


            De igual forma, no procede la condena en costas del proceso, porque no hubo vencimient o

total.


            Publiquese y registrese. Se ordena la remision de este expediente al Tribunal de ]a causa ,
Tu7aado
---- .- . . -Primers
              . .. . .v .v de
                           ...v Primary
                                 . .aa .av.r.Tnetanc      ;a en In Civil T~ TArnant ;l y del Trans ;+n de la Cir Tud ; al
                                              . . . ~u .va ... vas av -as ♦ . ava Va4aaala } uva aauaaJal
    C                                                                               .V UV 1N ~a1V411J V IFI I Vil   ✓ UUl\I I




del Area Metropolitana de Caracas a los fines de la ejecucion del presente fallo . Participese esta decision

al Tribunal Superior de origen .


            Dada, firmada y sellada en la Sala de Despacho del Tribunal Supremo de Justicia, en Sala d e




http ://www. tsj.gov.ve/decisiones/scc/Julio/RC-00718-270704-033 82 .htm                                       8/18/2006
Case 1:05-cv-22454-CMAhtm
                       Document 107 Page
                                    Entered on FLSD Docket 08/21/2006 Page 16 of 22
                                                       13 of 1 5
RC-00718-270704-03382 .


           Casacion Civil, en Caracas, a los veintisiete (27) dias del mes de julio de dos mil cuatro .

Anos : 194° de la Independencia y 145° de la Federacion .

                                           El Presidente de la Sala ,



                                        CARLOS OBERTO VELE Z

El Vicepresidente ,




ANTONIO RAMIREZ JIMENEZ

                                                                                              Magistrado Ponente ,




                                                                                      TULIO ALVAREZ LED O

                                                 El Secretario ,




                                     ENRIQUE DURAN FERNANDE Z


Exp. N° AA20-C-2003- 00038 2




           El Magistrado Antonio Ramirez Jimenez, consigna el presente "voto salvado" al contenido

de la presente decision, con base en las siguientes consideraciones :



           (mien ci"crril-p   nn i-mm n nrtp In cnliwrinn rinrla al tramite nary P   l ?nAliciC d e In tl pniineia ti e

silencio de prueba enmarcada en la unica denuncia por defecto de actividad .-



           En efecto, la ocurrencia de un vicio por silencio de prueba ha debido ser analizado por esta

Sala en el ambito de un recurso por defecto de actividad, ello de conformidad con la Constitucio n



http ://www .tsj .gov .ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 17 of 22
                     .htm Page 14 of 1 5
RC-00718-270704-03382


             vigente y el Codigo adjetivo civil que exigen una justicia completa y exhaustiva ; no se

lograria dicho fin si se omite algun elemento clarificador del proceso .-



             Esa es la interpretacion que se le debe dar al articulo 509 del Codigo de Procedimiento Civil,

al senalar que los Jueces deben analizar todas las pruebas producidas en el expediente y emitir su

opinion, asi sea en forma breve y concreta, en un todo de conformidad con el ordinal 1 ° del articulo 313

eiusdem .-



             Por ello, el silencio de prueba debe mantenerse como un vicio denunciable en el ambito de

un recurso por defecto de actividad, en un todo de conformidad con el ordinal 10 del articulo 313 del

Codigo de Procedimiento Civil .



             Queda asi expresado el voto salvado del Magistrado que suscribe .



             En Caracas, fecha ut-supra .



                                            El Presidente de la Sala,



                                        CARLOS OBERTO VELE Z

El Vicepresidente,



ANTONIO RAMIREZ JIMENEZ

                                                                                               Magistrado ,



                                                                                 TULIO ALVAREZ LED O

                                                 El Secretario ,




http://www . tsj .gov. ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 18 of 22
RC-00718-270704-03382 . htm            Page               15      of       15


                               ENRIQUE DURAN FERNANDE Z

Exp. N° AA20- C-2003-00038 2




http ://www.tsj.gov.ve/decisiones/scc/Julio/RC-00718-270704-03382 .htm 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page 19 of 22




                                                         EXHIBIT B
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006 Page
                                                                      Page120 of 822
                                                                           of 23



                                         Red de Informacion Juridic a

                                          LEGISLACION ANDIN A


                                                   Venezuela

                                                 Derecho Civi l

                                     CODIGO CIVIL DE VENEZUELA

                     (Gaceta N° 2 .990 Extraordinaria del 26 de Julio de 1982 )


                        EL CONGRESO DE LA REPUBLICA DE VENEZUELA
                                        DECRETA

                                                  el siguiente,

                                                CODIGO CIVI L


                              TITULO PRELIMINA R
       DE LAS LEYES Y SUS EFECTOS, Y DE LAS REGLAS GENERALES PARA SU
                                  APLICACIO N



Articulo 1
La Ley es obligatoria desde su publicacion en la GACETA OFICIAL o desde la fecha
a posterior que ells misma indique.

Articulo 2
La ignorancia de la ley no excusa de su cumplimiento .

Articulo 3
La Ley no tiene efecto retroactivo .

Articulo 4
A la Ley debe atribuirsele el sentido que aparece evidente del significado propio de las
palabras, segun la conexion de ellas entre si y Ia intencion del legislador.
Cuando no hubiere disposicion precisa de is Ley, se tendran en consideracion !a s
diJpVSi VIVnGJ q ue Ieg uic+ n %IUO%JJ OVI I IGJantVJ V II IOL 1100 01I0I Jga0 , y, ji I IUIJiere tvdavi a
Judas, se aplicaran los principios generales del derecho .

Articulo 5
La renuncia de las leyes en general no suite efecto .

Articulo 6



http ://www .cajpe.org .pe/rij/bases/legisla/venezuel/ve20a.HTM 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006Page
                                                                       Page  21 of 22
                                                                          153 of 23 8


Articulo 1 .189
Cuando el hecho de la victima ha contribuido a causar el dano, la obligacion de repararlo se
disminuira en la medida en que la victima ha contribuido a aquel .
Articulo 1 .19 0
El padre , la madre , y a falta de estos , el tutor, son responsables del dano ocasionado por el
hecho ilicito de los menores que habiten con ellos .
Los preceptores y a rtesanos son responsables del dano ocasionado por el hecho ilicito de
sus alumnos y aprendices , mientras permanezcan bajo su vigilancia .
La responsabilidad de estas personas, no tiene efecto cuando ellas prueban que no han
podido impedir el hecho que ha dado origen a esa responsabilidad ; pero ella subsiste aun
cuando el autor del acto sea irresponsable por falta de discernimiento .
Articulo 1 .191
Los duenos y los principales o directores son responsables del dano causado por el hecho
ilicito de sus sirvientes y dependientes, en el ejercicio de las funciones en que los han
empleado .
A rt iculo 1 .19 2
El dueno de un animal o el que lo tiene a su cuidado , debe reparar el dano que este cause,
aunque se hubiese perdido o extraviado, a no ser que pruebe que el accidente ocurrio por
falta de la victima o por el hecho de un tercero .
Articulo 1 .193
Toda persona es responsable del dano causado por las cosas que tiene bajo su guarda, a
menos que pruebe que el dano ha sido ocasionado por falta de la victima , por el hecho de
un tercero , o por caso fo rt uito o fue rz a mayor.
Quien detenta , por cualquier titulo, todo o pa rte de un inmueble, o bienes muebles, en los
cuales se inicia un incendio , no es responsable, respecto a terceros, de los danos causados,
a menos que se demuestre que el incendio se debio a su falta o al hecho de personas por
cuyas faltas es responsable .
Articulo 1 .194
El propietario de un edificio o de cualquiera otra construccion arraigada al suelo, es
responsable del dano causado por la ruina de estos , a menos que pruebe que la ruina no ha
ocurrido por falta de reparaciones o por vicios en la construccion .
A rticulo 1 .195
Si el hecho ilicito es imputable a varias personas , quedan obligadas solidariamente a reparar
el dano causado .
Quien ha pagado integramente la totalidad del dano , tiene accion contra cada uno de los
coobligados por una pa rte que fijara el Juez segun la gravedad de la falta cometida por cada
uno de ellos. Si es imposible establecer el grado de responsabilidad de los coobligados, la
repa rticion se hara por pa rtes iguales .
Articulo 1 .196
La obligacion de reparacion se extiende a todo dano material o moral causado por el acto
ilicito .
El Juez puede, especialmente , acordar una indemnizacion a la victima en caso de lesion
corporal , de atentado a su honor , a su reputacion, o a los de su famiiia , a su iibertad
per s on a l , col lIio Lal I biI I en el caso de violaciVn de su dol I liclllo o de un1 seer eto %IVI ices nieni .

a la pa rte lesionada .
El Juez puede igualmente conceder una indemnizacion a los parientes , afines , o conyuge,
como reparacion del dolor sufrido en caso de mue rte de la victima .
Capitulo I I
De las Diversas Especies de Obligaciones
Seccion I
Obligaciones Condicionale s


http://www.cajpe.org .pe/rij/bases/legisla/venezuel/ve20a.HTM 8/18/2006
Case 1:05-cv-22454-CMA Document 107 Entered on FLSD Docket 08/21/2006Page
                                                                       Page
                                                                          154 22 of 822
                                                                              of 23


Articulo 1 .197
La obligacion es condicional cuando su existencia o resolucion depende de un
acontecimiento futuro e incierto .
Articulo 1 .19 8
Es suspensiva la condicion que hace depender la obligacion de un acontecimiento futuro e
incierto .
Es resolutoria , cuando verificandose , repone las cosas al estado que tenian , como si la
obligacion no se hubiese jamas contraido .
Articulo 1 .199
La condicion es causal, cuando depende enteramente de un acontecimiento fortuito, que no
esta en la potestad del acreedor ni del deudor .
Es potestativa, aquella cuyo cumplimiento depende de la voluntad de una de las partes, y
mixta cuando depende a un mismo tiempo de la voluntad de las pa rtes contratantes y de la
voluntad de un tercero, o del acaso .
Articulo 1 .200
La condicion imposible o contraria a la ley o a las buenas costumbres, hace nula la
obligacion que depende de ella si es suspensiva ; y se reputa no escrita si es resolutoria .
En todo caso, la condicion resolutoria contraria a la Ley o a las buenas costumbres, hace
nula la obligacion de la cual ha sido causa determinante .
Articulo 1 .20 1
La obligacion contraida bajo la condicion de no hacer una cosa imposible, se reputa pura y
simpl e
Articulo 1 .202
La obligacion contraida bajo una condicion que la hace depender de la sola voluntad de
aquel que se ha obligado , es nula .
Articulo 1 .203
Cuando la obligacion se contrae bajo condicion suspensiva, y antes de su cumplimiento
perece o se deteriora la cosa que forma su objeto , se obse rvaran las reglas siguientes :
Si la cosa perece enteramente sin culpa del deudor la obligacion se reputa no contraida .
Si la cosa perece enteramente por culpa del deudor , este queda obligado para con el
acreedor al pago de los danos .
Si la cosa se deteriora sin culpa del deudor , el acreedor debe recibirla en el estado en que se
encuentre , sin disminucion del precio.
Si la cosa se deteriora por culpa del deudor , el acreedor tiene el derecho de resolver la
obligacion , o de exigir la cosa en el estado en que se encuentre , ademas del pago de los
danos.
Articulo 1 .204
La condicion resolutoria no suspende la ejecucion de la obligacion ; obliga unicamente al
acreedor a restituir lo que ha recibido cuando se efectue el acontecimiento previsto en la
condicion .
Articulo 1 .205
Toda condicion debe cumplirse de la manera como las partes han querido o entendido
verosimiimente que io fuese .
A . 4 .cuI .. I 7l~G
/-%I ul.. uw I . .U U


Cuando una obligacion se ha contraido bajo la condicion de que un acontecimiento suceda
en un tiempo determinado, esta condicion se tiene por no cumplida si el tiempo ha expirado
sin que el acontecimiento se haya efectuado . Si no se ha fijado tiempo, la condicion puede
cumplirse en cualquier tiempo, y no se tiene por no cumplida sino cuando es cierto que el
acontecimiento no sucedera .
Articulo 1 .207
Cuando se ha contraido una obligacion bajo la condicion de que no suceda u n


http ://www .cajpe.org .pe/rij/bases/legisla/venezuel /ve20a.HTM 8/18/2006
